Case 22-51326-wlh             Doc 49       Filed 05/26/22 Entered 05/26/22 17:54:59                    Desc Main
                                           Document Page 1 of 4




     IT IS ORDERED as set forth below:



     Date: May 26, 2022

                                                       _____________________________________
                                                                  Wendy L. Hagenau
                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                    )                              CHAPTER 11
                                          )
RICHARD DOUGLAS CULLINAN,                 )                              CASE NO: 22-51326-WLH
                                          )
      Debtor.                             )
__________________________________________)

                                       ORDER GRANTING
                                 MOTION TO SELL REAL PROPERTY

           Upon consideration of Debtor’s Motion to Sell Real Property (the “Motion”),1 which

requests, among other things, entry of an order pursuant to §§ 105 and 363 of the Bankruptcy Code

and Rule 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

approving the sale of certain real property (the “Sale”) detailed in the Sales Agreement attached

as Exhibit B to the Motion (the “Sales Agreement”) by and between Debtor and Mrs. Cullinan


 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
Case 22-51326-wlh          Doc 49     Filed 05/26/22 Entered 05/26/22 17:54:59                Desc Main
                                      Document Page 2 of 4



and Mitchell Ridgeway; the Court having reviewed and considered the Motion, the arguments of

counsel, and the evidence presented at the hearing on the Motion; and all objections to the Motion

having been either withdrawn or overruled; and it appearing that the relief requested in the Motion

is in the best interests of Debtor, his bankruptcy estate, and all creditors and other parties in interest;

and sufficient notice of the Motion having been given to all creditors and parties in interest; and

after due deliberation thereon, and good cause appearing therefore, it is hereby ORDERED as

follows:

        1.        The Motion is GRANTED as set forth herein. All objections to the Motion or the

relief requested therein that have not been withdrawn, waived, or settled, and all reservations of

rights included therein, are OVERRULED on the merits and denied with prejudice.

        2.        The Sales Agreement, including any amendments, supplements, and modifications

thereto, and all of the terms and conditions therein, is hereby APPROVED.

        3.        Debtor may sell the Property free and clear of all liens, claims and encumbrances,

because one or more of the standards set forth in § 363(f)(1)-(5) of the Bankruptcy Code has

been satisfied.

        4.        Upon closing of the Sale, all liens, claims, and encumbrances on the Property shall

attach to the proceeds of the Sale (the “Sales Proceeds”) to the same extent, validity, and priority

as they existed on the Petition Date, unless the Court has entered order avoiding all or any portion

of a creditor’s lien.

        5.        Debtor is authorized to take all actions necessary to close the Sale and to comply

with the Sales Agreement.

        6.        At the closing of the Sale, the following payments shall be made: six percent (6%)

sales commission under the terms of the Sales Agreement, full payment of the Coastal States



                                                    2
Case 22-51326-wlh       Doc 49     Filed 05/26/22 Entered 05/26/22 17:54:59            Desc Main
                                   Document Page 3 of 4



HELOC (as defined in the Motion), and the remaining balance of the Sales Proceeds is to be

escrowed in Debtor’s counsel’s IOLTA account pending further order of this Court.

       7.      Debtor’s counsel shall promptly file a Report of Sale after the Sale is consummated.

Debtor’s counsel shall also report the amount of Sales Proceeds held in its IOLTA account on

Debtor’s monthly operating reports. After the closing of the Sale, Debtor’s counsel shall promptly

file an appropriate pleading to disburse any Sales Proceeds not subject to dispute in adversary

proceeding no. 22-05078-wlh.

       8.      The Court shall retain jurisdiction to enforce and implement the terms and

provisions of the Sales Agreement and this Order.

       9.      Notwithstanding any rule to the contrary, the provisions of this Order shall be

immediately effective and enforceable upon its entry.

                                   ### END OF ORDER ###

Prepared and Presented by:
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                                                3
Case 22-51326-wlh        Doc 49   Filed 05/26/22 Entered 05/26/22 17:54:59   Desc Main
                                  Document Page 4 of 4



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                                             4
